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LOS Angeles , CA 90025
(424) 832-3750
UNITED STATES DlSTRlCT COURT
CENTRAL DISTRICT OF CALIFORNIA
PERFECT 10 , INC. , a California "`"Sm“m
Corporation 2 : ll-CV~O709B-AB-JPRX
Plaintiff($)
V.
:§GZ;I§I?WS , INC . , a Texas Corporation, ,WR!T OF EXECUTIGN
Def`endant(s)
TO: THE UNlTED STATES MARSHAL FOR THE CENTRAL DISTRICT OF CALIFORNIA

You are directed to enforce the Judgment described below with interest and costs as provided by law.

011 March 24, 2015

Giganews , Inc .

as Judgment Creditor and against

Perfect 10 , Inc .

as Judgment Debtor, fort

$ 0 ~ 00 PrincipaL
51213'117~05 Attorney Fees,

$

$ 0 - 00 lnterest "‘*, and
$
$

and Livewire Services ,

Inc .

M Costs, making a total amount of
w JUDGMENT As ENTERED

a judgment was entered in the above-entitled action in favor of:

m coPY

**NOTE: JUDGMENTS REGISTERED UNDER 28 U.S.C. §1963 BEAR THE RATE OF INTEREST OF THE
DIS'I`RICT OF ORIGIN AND CALCULATED AS OF THE DATE OF ENTRY lN THAT DISTRICT.

 

WRIT OF EXECUTION

cv_zz (6/01)

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WHEREAS, according to an affidavit and/or memorandum of costs after judgment it appears that further sums

have accrued Since the entry of judgment in the Central District of California
to wit:

$ 8 ' 6 10 - 03 accrued interest, and
$ 0 ~ 00 accrued costs, making a total ot`
$ 8 l 610 - °3 ACCRUED CosTs ANn ACCRUEI) iNTEREsT

Credit must be given for payments and partial satisfaction in the amount of $ 0 - 00 which is

to be credited against the total accrued costs and accrued interest, With any excess credited against the judgment
as entered, leaving a net balance ot`:

$ ___M_G_ ACTUALLY DUE on the date of the issuance of this writ of which
$ 5 , 637 , 3 52 . 53 ls due on the judgment as entered and bears interest at - 25
percent per annum, in the amount of $ 38 . 61 per day

from the date of issuance of this writ, to which must be added the
commissions and costs of the officer executing this writ.

CLERK, UNITED STATES DISTRICT COURT

Dated: //* q’ [§

 

   

 

WRIT OF EXECUTION

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The following are name(s) and address(es) of the judgment debtor(s) to whom a copy of the Writ ofExecution
must be mailed unless it was served at the time of the levy. This information must be filled in by counsel
requesting this writ.

l" _l i_ _l

Perfect lO, Inc.

c/O Bruce Hersh

17547 Ventura Blvd , Ste. 206

Encino, CA 91316
L_ __l L_ _J

_T

F§erfect 10, Inc. -j r_

c/o Lynell Diondra Davis

11803 Norfield Court

LOS Angeles, CA 90077
|__ _l L_ _l
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L_ __l l_ _l
l_ "l i_ `l
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|_ “l i` _l
|_ _l l_ _|

NOTICE TO THE JUDGMENT DEBTOR

You may be entitled to tile a claim exempting your property from execution. 'Y'ou may seek the advice of an
attorney or may, within ten (10) days after the date the notice of levy was seived, deliver a claim of exemption
to the levying officer as provided in Sections 703.510 - 703.610 of the Califomia Code of Civil Procedure.

 

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